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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MAYAGUEZ S.A.,
Plaintiff,
-against- Case No. 16 Civ. 06788 (PGG) (JLC)
CITIBANK, N.A. and CITIGROUP, INC.,

Defendants.

ORDER REGARDING DELIVERY
AND INSTALLATION OF TECHNOLOGICAL EQUIPMENT FOR TRIAL

IT IS HEREBY ORDERED that Plaintiff Mayaguez S.A. is authorized to use the
technological equipment listed in Appendix A for the Pre-Trial Conference on August 19, 2022
and the duration of the trial in the above-captioned matter scheduled to begin on August 22, 2022
(the “Trial”); and it is further

ORDERED that Marco Heim of TrialGraphix, Inc. shall be permitted to enter the
Thurgood Marshall Courthouse, 40 Foley Square, New York, NY 10007 on August 19, 2022 to
install in Courtroom 705 the technological equipment listed in Appendix A; and it is further

ORDERED that three of the five Aquipt, Inc., employees identified on
Appendix B, using one or more of the vehicles listed in that appendix, shall be permitted on
Friday, August 19, 2022 to access the Courthouse’s freight entrance with their phones and
deliver to Courtroom 705 the technological equipment listed in Appendix A; and it is further

ORDERED that upon completion of the trial, three of the five Aquipt, Inc.,
employees identified on Appendix B shall be permitted to access Courtroom 705 to remove the

installed technological equipment.
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Dated: August _/ % 2022
New York, New York

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SO ORDERED:

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The Honorable Pauf G. Gardephe
United States District Judge
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APPENDIX A

_ Equipment _

Ee

2 monitors

5 laptops

1 HDMI switch

1 Xerox printer with toner cartridges

2 small portable folding tech tables

3 compact library carts (to maximize binder space for trial team)

1 bin of misc. power extension cables, power strips, HDMI cables and tape

1 folding luggage cart

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APPENDIX B

Names of Aquipt, Inc., Employees
(1) Jeremy Coley
(2) Robert Emmett Donahue
(3) Connor John Gibbons
(4) James X Lamar

(5) Joshua Alexander Urofsky

Vehicle Information

“VehicleType = State of TagiPlate | Tag/Plate No.
2019 Chevy Express G2500 Pennsylvania ZMZ2828
2017 Express G2500 Pennsylvania ZKW3693
2001 ISU NPR (Box Truck) Pennsylvania YBR4451
2017 Express G2500 Pennsylvania ZJT4462
2005 Honda ELEMENT/LX Pennsylvania GCC5346
2006 Express G2500 Pennsylvania YSD1393
2016 Express G2500 Pennsylvania ZHR9612
2017 Express G2500 Pennsylvania ZIT4461
2022 Express G2500 Pennsylvania ZTR4163
2021 Chevrolet Express Cargo Van 2500 Pennsylvania ZSE4759

